Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 1 of 14




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  RENZO BARBERI,

                 Plaintiff,

                 vs.

  CHEVRON U.S.A. INC., a Foreign Profit
  Corporation, JSK FOODMART INC., a
  Florida Profit Corporation, and SUNSHINE
  GASOLINE DISTRIBUTORS, INC., a
  Florida Profit Corporation,

            Defendants.
  _______________________________/

                                            COMPLAINT

  Plaintiff, RENZO BARBERI (hereinafter “Plaintiff”), through the undersigned counsel, hereby
  files this complaint and sues CHEVRON U.S.A. INC. (“CHEVRON”), JSK FOODMART INC.
  (“JSK”), and SUNSHINE GASOLINE DISTRIBUTORS, INC. (“SUNSHINE”) (hereinafter,
  collectively referred to as “Defendants”), for declaratory and injunctive relief; for discrimination
  based on disability; and for the resultant attorney's fees, expenses, and costs (including, but not
  limited to, court costs and expert fees), pursuant to 42 U.S.C. §12181 et. seq., ("AMERICANS
  WITH DISABILITIES ACT OF 1990," or "ADA") and alleges:


  JURISDICTION
  1.     This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.
  §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C. §12181 et. seq., based on
  Defendants’ violations of Title III of the Americans with Disabilities Act of 1990, (hereinafter
  referred to as the "ADA"). See also 28 U.S.C. §2201 and §2202.


  VENUE
  2.      The venue of all events giving rise to this lawsuit is located in Miami-Dade County,


                                                   1
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 2 of 14




  Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local Rules of the United States District
  Court for the Southern District of Florida, this is the designated court for this suit.


  PARTIES
  3.      Plaintiff, RENZO BARBERI, is a resident of the State of Florida. At the time of
  Plaintiff’s visit to Chevron Gas Station (“Subject Facility”), Plaintiff suffered from a “qualified
  disability” under the ADA, and required the use of a wheelchair for mobility. Specifically,
  Plaintiff suffers from paraplegia due to a severed T4 and T5 and is therefore confined to his
  wheelchair. Plaintiff personally visited Chevron Gas Station, but was denied full and equal
  access, and full and equal enjoyment of the facilities, services, goods, and amenities within
  Chevron Gas Station, which is the subject of this lawsuit. The Subject Facility is a gas station
  and a convenience store, and Plaintiff wanted to purchase gas and beverages but was unable to
  due to the discriminatory barriers enumerated in Paragraph 15 of this Complaint.


  4.      In the alternative, Plaintiff, RENZO BARBERI, is an advocate of the rights of similarly
  situated disabled persons and is a “tester” for the purpose of asserting his civil rights and
  monitoring, ensuring and determining whether places of public accommodation are in
  compliance with the ADA.


  5.      Defendants, CHEVRON, JSK, and SUNSHINE are authorized to conduct business and
  are in fact conducting business within the State of Florida. The Subject Facility is located at
  13700 SW 8th Street, Miami, FL 33184. Upon information and belief, CHEVRON and JSK are
  the lessees and/or operators of the Real Property and therefore held accountable of the violations
  of the ADA in the Subject Facility which is the matter of this suit. Upon information and belief,
  SUNSHINE is the owner and lessor of the Real Property where the Subject Facility is located
  and therefore held accountable for the violations of the ADA in the Subject Facility which is the
  matter of this suit.


  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 5 of this
  complaint, as are further explained herein.

                                                     2
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 3 of 14




  7.      On July 26, 1990, Congress enacted the Americans with Disabilities Act ("ADA"), 42
  U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half years from
  enactment of the statute to implement its requirements. The effective date of Title III of the ADA
  was January 26, 1992, or January 26, 1993 if Defendants had ten (10) or fewer employees and
  gross receipts of $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.      As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found, among other
  things, that:
          i. some 43,000,000 Americans have one or more physical or mental disability, and this
             number shall increase as the population continues to grow and age;

          ii. historically, society has tended to isolate and segregate individuals with disabilities
             and, despite some improvements, such forms of discrimination against disabled
             individuals continue to be a pervasive social problem, requiring serious attention;

          iii. discrimination against disabled individuals persists in such critical areas as
             employment, housing, public accommodations, transportation, communication,
             recreation, institutionalization, health services, voting and access to public services and
             public facilities;

          iv. individuals with disabilities continually suffer forms of discrimination, including:
            outright intentional exclusion; the discriminatory effects of architectural, transportation,
            and communication barriers; failure to make modifications to existing facilities and
            practices; exclusionary qualification standards and criteria; segregation, and regulation
            to lesser services, programs, benefits, or other opportunities; and,

          v. the continuing existence of unfair and unnecessary discrimination and prejudice denies
            people with disabilities the opportunity to compete on an equal basis and to pursue
            those opportunities for which this country is justifiably famous, and costs the United
            States billions of dollars in unnecessary expenses resulting from dependency and non-
            productivity.

  9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated that the
  purpose of the ADA was to:
          i. provide a clear and comprehensive national mandate for the elimination of
            discrimination against individuals with disabilities;

          ii. provide clear, strong, consistent, enforceable standards addressing discrimination
             against individuals with disabilities; and,

          iii. invoke the sweep of congressional authority, including the power to enforce the

                                                    3
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 4 of 14




            fourteenth amendment and to regulate commerce, in order to address the major areas of
            discrimination faced on a daily basis by people with disabilities.

  10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no individual may be
  discriminated against on the basis of disability with regards to the full and equal enjoyment of
  the goods, services, facilities, or accommodations of any place of public accommodation by any
  person who owns, leases (or leases to), or operates a place of public accommodation. Chevron
  Gas Station is a place of public accommodation by the fact it is an establishment that provides
  goods/services to the general public, and therefore, must comply with the ADA. The Subject
  Facility is open to the public, its operations affect commerce, and it is a gas station. See 42
  U.S.C. Sec. 12181 (7) and 28 C.F.R. 36.104. Therefore, the Subject Facility is a public
  accommodation that must comply with the ADA.


  11.     The Defendants have discriminated, and continue to discriminate against the Plaintiff,
  and others who are similarly situated, by denying access to, and full and equal enjoyment of
  goods, services, facilities, privileges, advantages and/or accommodations at Chevron Gas Station
  located at 13700 SW 8th Street, Miami, FL 33184, as prohibited by 42 U.S.C. §12182, and 42
  U.S.C. §12101 et. seq.; and by failing to remove architectural barriers pursuant to 42 U.S.C.
  §12182(b)(2)(A)(iv).


  12.     Plaintiff has visited the Subject Facility, and has been denied full, safe, and equal access
  to the facility and therefore suffered an injury in fact.


  13.     Plaintiff shall suffer a future injury as Plaintiff intends to return and enjoy the goods
  and/or services at the Subject Facility within the next six months. The Subject Facility is in close
  proximity to Plaintiff’s residence and is in an area frequently travelled by Plaintiff. Furthermore,
  Plaintiff will also return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with disabilities with full
  and equal access to their facility. Therefore, Plaintiff continues to suffer from discrimination and
  injury due to the architectural barriers, which are in violation of the ADA.


  14.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

                                                     4
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 5 of 14




  Justice, Office of the Attorney General, promulgated Federal Regulations to implement the
  requirements of the ADA. The ADA Accessibility guidelines (hereinafter referred to as
  “ADAAG”), 28 C.F.R. Part 36, may cause violators to obtain civil penalties of up to $55,000 for
  the first violation and $110,000 for any subsequent violation.


  15.     The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28 C.F.R. 36.302 et.

  seq., and are discriminating against the Plaintiff with the following specific violations which

  Plaintiff personally encountered and/or has knowledge of:

        a) The customer parking facility in front of the business does not provide a compliant

           accessible parking space. 2012 ADA Standards 502.1

        b) The parking facility has three (3) marked standard spaces and one (1) non-compliant

           accessible parking space along the west side of the property. 2012 ADA Standards 208.2

        c) The parking facility does not have the minimum number of compliant accessible parking

           spaces required. One (1) compliant accessible parking space with adjacent access aisle

           is required. 2012 ADA Standards 208.2

        d) The parking facility does not provide directional and informational signage to a

           compliant accessible parking space. 2012 ADA Standards 216.5

        e) The non-compliant accessible parking space is not level. Parking spaces and access

           aisles serving them must comply with Section 302. Access aisles must be at the same

           level as the parking spaces they serve. Changes in level are not permitted. Slopes not

           steeper than 1:48 is permitted to allow water runoff. 2012 ADA Standards 502.4

        f) The non-compliant accessible parking space identification striping is faded. Each such

           parking space must be striped in a manner that is consistent with the standards of FDOT

           for other spaces and prominently outlined with blue paint, and must be repainted when



                                                   5
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 6 of 14




           necessary, to be clearly distinguishable as a parking space designated for persons who

           have disabilities. 2012 ADA Standards 502.6.1

        g) Existing facility does not provide a compliant accessible route to the customer entrance

           from any site arrival point. 2012 ADA Standards 206.2, 208, 401.1

        h) There is no compliant access aisle attached to an accessible route serving any existing

           parking space which would allow safe entrance or exit of vehicle for accessible persons

           requiring mobility devices. 2012 ADA Standards 502.2

        i) There is currently no existing accessible route to help persons with disabilities enter the

           facility or safely maneuver through the parking area. At least one accessible route must

           be provided within the site from accessible parking spaces and accessible passenger

           loading zones; public streets and sidewalks; and public transportation stops to the

           accessible building or facility entrance they serve. 2012 ADA Standards 206.2.1

        j) The facility does not provide compliant directional and informational signage to an

           accessible route which would lead to an accessible entrance. Where not all entrances

           comply, compliant entrances must be identified by the International Symbol of

           Accessibility. Directional signs that indicate the location of the nearest compliant

           entrance must be provided at entrances that do not comply. 2012 ADA Standards 216.6

        k) Inside the food mart there are self-service merchandise display aisles that are too

           narrow. The clear width of walking surfaces must be 36 inches (915 mm) minimum.

           2010 ADA Standards 403.5.1



  16.     Upon information and belief there are other current violations of the ADA at Chevron
  Gas Station. Only upon full inspection can all violations be identified. Accordingly, a complete
  list of violations will require an on-site inspection by Plaintiff’s representatives pursuant to Rule

                                                   6
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 7 of 14




  34b of the Federal Rules of Civil Procedure.


  17.    Upon information and belief, Plaintiff alleges that removal of the discriminatory barriers
  and violations is readily achievable and technically feasible. To date, the readily achievable
  barriers and other violations of the ADA still exist and have not been remedied or altered in such
  a way as to effectuate compliance with the provisions of the ADA.


  18.    Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304, the Defendants
  were required to make the establishment a place of public accommodation, accessible to persons
  with disabilities by January 28, 1992. As of this date the Defendants have failed to comply with
  this mandate.


  19.    Plaintiff has been obligated to retain the undersigned counsel for the filing and
  prosecution of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs and
  expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.


  20.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff
  injunctive relief, including an Order to alter the subject facilities to make them readily accessible
  and useable by individuals with disabilities to the extent required by the ADA, closing the
  Subject Facility until the requisite modifications are completed, entering an Order directed at
  maintenance and future compliance, and entering an Order for Defendants to make reasonable
  modifications in policies, practices, or procedures.


                              COUNT I- DECLARATORY RELIEF


  21. The Defendants’ Facility has architectural barriers which Plaintiff personally encountered
  and/or has knowledge of.


  22.    Defendants have failed to make reasonable modifications in policies, practices, or
  procedures to ensure full and equal enjoyment of goods, services, facilities, privileges,
  advantages and/or accommodations at the Defendants’ Facility to Plaintiff, and similarly situated

                                                   7
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 8 of 14




  individuals with disabilities.


  23.     Defendants have discriminated, and continue to discriminate against Plaintiff, and others
  who are similarly situated, by denying access to, and full and equal enjoyment of goods,
  services, facilities, privileges, advantages and/or accommodations at the Subject Facility, as
  prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq.; by failing to make reasonable
  modifications in policies, practices, or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and
  by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).


  24.     Unless declared that the Subject Facility owned, operated and/or controlled by the
  Defendants is in violation of the ADA, Defendants shall continue to discriminate against
  Plaintiff, and others who are similarly situated, by denying access to, and full and equal
  enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at the
  Subject Facility.


  25.     Plaintiff has been obligated to retain the undersigned counsel for the filing and
  prosecution of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs and
  expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.


          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this
  Honorable Court declare that the Subject Facility owned, operated and/or controlled by the
  Defendants is in violation of Title III of the ADA, and award reasonable attorney's fees, all costs
  (including, but not limited to court costs and expert fees) and other expenses of suit, to Plaintiff.


        COUNT II- INJUNCTIVE RELIEF TO REMOVE ARCHITECTURAL BARRIERS


  26.     The Defendants’ Facility has architectural barriers which Plaintiff personally encountered
  and/or has knowledge of.


  27.     Upon information and belief, Plaintiff alleges that removal of the discriminatory barriers
  and violations is readily achievable and technically feasible. To date, the readily achievable

                                                    8
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 9 of 14




  barriers and other violations of the ADA still exist and have not been remedied or altered in such
  a way as to effectuate compliance with the provisions of the ADA.


  28.     Unless enjoined by the Court, Defendants shall continue to discriminate against Plaintiff,
  and others who are similarly situated, by denying access to, and full and equal enjoyment of
  goods, services, facilities, privileges, advantages and/or accommodations at the Subject Facility
  by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).


  29.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff
  injunctive relief, including an Order to alter the subject facilities to make them readily accessible
  and useable by individuals with disabilities to the extent required by the ADA and closing the
  Subject Facility until the requisite modifications are completed.


  30.     Plaintiff has been obligated to retain the undersigned counsel for the filing and
  prosecution of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs and
  expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.


          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this
  Honorable Court enter an Order requiring Defendants to alter the Subject Facility and remove
  architectural barriers to make the Subject Facility accessible to and usable by individuals with
  disabilities to the full extent required by Title III of the ADA, and award reasonable attorney's
  fees, all costs (including, but not limited to court costs and expert fees) and other expenses of
  suit, to Plaintiff.


        COUNT III- INJUNCTIVE RELIEF TO MODIFY POLICIES, PRACTICES AND
                                           PROCEDURES


  31.     The Defendants’ Facility has architectural barriers which Plaintiff personally encountered
  and/or has knowledge of.


  32.     Defendants have failed to make reasonable modifications in policies, practices, or

                                                   9
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 10 of 14




  procedures to ensure full and equal enjoyment of goods, services, facilities, privileges,
  advantages and/or accommodations at the Defendants’ Facility to Plaintiff, and similarly situated
  individuals with disabilities.


  33.    Unless enjoined by the Court, Defendants shall continue to discriminate against Plaintiff,
  and others who are similarly situated, by denying access to, and full and equal enjoyment of
  goods, services, facilities, privileges, advantages and/or accommodations at the Subject Facility
  by failing to make reasonable modifications in policies, practices, or procedures pursuant to 42
  U.S.C. §12182(b)(2)(A)(ii).


  34.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff
  injunctive relief, including an Order for Defendants to make reasonable modifications in policies,
  practices, or procedures.


  35.    Plaintiff has been obligated to retain the undersigned counsel for the filing and
  prosecution of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs and
  expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.


         WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this
  Honorable Court enter an Order requiring Defendants to evaluate, neutralize and modify their
  policies, practices and procedures as are necessary to make the Subject Facility accessible to and
  usable by individuals with disabilities to the full extent required by Title III of the ADA, and
  award reasonable attorney's fees, all costs (including, but not limited to court costs and expert
  fees) and other expenses of suit, to Plaintiff.


             COUNT IV- INJUNCTIVE RELIEF TO MAINTAIN COMPLIANCE


  36.    The Defendants’ Facility has architectural barriers which Plaintiff personally encountered
  and/or has knowledge of.


  37.    Upon information and belief, Plaintiff alleges that removal of the discriminatory barriers

                                                    10
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 11 of 14




  and violations is readily achievable and technically feasible. To date, the readily achievable
  barriers and other violations of the ADA still exist and have not been remedied or altered in such
  a way as to effectuate compliance with the provisions of the ADA.


  38.     Unless enjoined by the Court, Defendants shall continue to discriminate against Plaintiff,
  and others who are similarly situated, by denying access to, and full and equal enjoyment of
  goods, services, facilities, privileges, advantages and/or accommodations at the Subject Facility
  by failing to maintain compliance with the ADA by allowing physical alterations to revert back
  into noncompliance, and by failing to enforce any modifications in policies, practices, or
  procedures.


  39.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff
  injunctive relief, including an Order directed at maintenance and future compliance, and entering
  an Order for Defendants to make reasonable modifications in policies, practices, or procedures.


  40.     Plaintiff has been obligated to retain the undersigned counsel for the filing and
  prosecution of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs and
  expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.


          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this
  Honorable Court enter an Order requiring Defendants to maintain the alterations and
  modifications required to keep the Subject Facility accessible to and usable by individuals with
  disabilities and in compliance with Title III of the ADA, and award reasonable attorney's fees, all
  costs (including, but not limited to court costs and expert fees) and other expenses of suit, to
  Plaintiff.



  Dated this October 4, 2022.




                                                  11
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 12 of 14




  Respectfully submitted by:

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  Ronald E. Stern, Esq.
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  Attorney for Plaintiff, RENZO BARBERI




                                          12
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 13 of 14




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  RENZO BARBERI,

                Plaintiff,

                vs.

  CHEVRON U.S.A. INC., a Foreign Profit
  Corporation, JSK FOODMART INC., a
  Florida Profit Corporation, and SUNSHINE
  GASOLINE DISTRIBUTORS, INC., a
  Florida Profit Corporation,

            Defendants.
  _______________________________/

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 4, 2022, I electronically filed the Complaint along
  with a Summons for each Defendant with the Clerk of Court using CM/ECF. I also certify that
  the aforementioned documents are being served on all counsel of record, corporations, or pro se
  parties identified on the attached Service List in the manner specified via Service of Process by
  an authorized Process Server, and that all future pleadings, motions and documents will be
  served either via transmission of Notices of Electronic Filing generated by CM/ECF or via U.S.
  Mail for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.

  By: Ronald E. Stern
  Ronald E. Stern, Esq.
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  Attorney for Plaintiff, RENZO BARBERI




                                                 13
Case 1:22-cv-23217-PCH Document 1 Entered on FLSD Docket 10/04/2022 Page 14 of 14




                                       SERVICE LIST:

    RENZO BARBERI, Plaintiff, vs. CHEVRON U.S.A. INC., a Foreign Profit Corporation, JSK
        FOODMART INC., a Florida Profit Corporation, and SUNSHINE GASOLINE
                  DISTRIBUTORS, INC., a Florida Profit Corporation

                    United States District Court Southern District Of Florida

                                          CASE NO.


  CHEVRON U.S.A. INC.

  REGISTERED AGENT:

  THE PRENTICE-HALL CORPORATION SYSTEM, INC.
  1201 HAYS STREET
  TALLAHASSEE, FL 32301

  VIA PROCESS SERVER


  JSK FOODMART INC.

  REGISTERED AGENT:

  KHADOO, RODNEY
  13700 SOUTHWEST 8TH STREET
  MIAMI, FL 33184

  VIA PROCESS SERVER


  SUNSHINE GASOLINE DISTRIBUTORS, INC.

  REGISTERED AGENT:

  REUS, SANDRA M.
  1650 NW 87 AVENUE
  DORAL, FL 33172

  VIA PROCESS SERVER




                                               14
